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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION



 UNITED STATES OF AMERICA,
                                                   CR 16-103-BLG-SPW
                      Plaintiff,

 vs.                                                ORDER

 FRANCINE JOANN GRANADOS,

                      Defendant.

       Defendant, Francine Joann Granados, through her counsel, has filed an

Unopposed Motion to Set Trial Date and Establish Pretrial Deadlines (Doc. 128).

       IT IS HEREBY ORDERED that Defendant's Motion (Doc. 128) is

DENIED for the reason that Defendant's trial was severed from that of her co-

defendant, Terrence Tyrell Edwards on May 16, 201 7 (Doc. 111 ). Although the

defendants will be tried separately, the trial date for both defendants remains set

for June 26, 2017 at 9:00 a.m. The Court's Order Resetting Trial and Scheduling

Deadlines (Doc. 80) remains in full force and effect for Defendant Francine Joann

Granados.




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The Clerk of Court is directed to notify counsel of the making of this Order.

DATEDthis     ~f'~ofMay,2017. ~
                             ~~-rd~
                                       SUSANP. WATTERS
                                       United States District Judge




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